                                                             Case 3:15-cv-00902-W-NLS Document 3 Filed 08/12/15 PageID.10 Page 1 of 1



                                                                                      UNITED STATES DISTRICT COURT
                                                                                    SOUTHERN DISTRICT OF CALIFORNIA


                                                            ALLISON MEIOLA,
                                                                                                                   Docket No: 3:15-cv-00902-W-NLS
                                                                                  Plaintiff,

                                                                                     vs.

                                                            INTERNATIONAL RECOVERY ASSOCIATES,
                                                            INC.,

                                                                                 Defendant.


                                                                NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

                                                                   Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff
BARSHAY | SANDERS PLLC
                         100 GARDEN CITY PLAZA, SUITE 500
                          GARDEN CITY, NEW YORK 11530




                                                            ALLISON MEIOLA, through their counsel, hereby give notice that the above captioned action is

                                                            voluntarily dismissed without prejudice.


                                                            DATED: August 12, 2015

                                                                                                         BARSHAY SANDERS, PLLC
                                                                                                         By: /s Craig B. Sanders
                                                                                                         Craig B. Sanders
                                                                                                         100 Garden City Plaza, Suite 500
                                                                                                         Garden City, New York 11530
                                                                                                         Tel: (516) 203-7600
                                                                                                         Attorneys for Plaintiff
                                                                                                         Our File No.: 108736
